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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                                          DECISION & ORDER and
                              Plaintiff,                                  REPORT & RECOMMENDATION

                     v.                                                   10-CR-6205CJS

BETHLYN FELIX, ALLAN SNYDER,
ALLEN SNYDER and MICHAEL WELCH,

                              Defendants.




                                           PRELIMINARY STATEMENT

                     By Order of Hon. Charles J. Siragusa, United States District Judge, dated October

18, 2010, all pretrial matters in the above-captioned case have been referred to this Court

pursuant to 28 U.S.C. §§ 636(b)(1)(A)-(B). (Docket # 2).

                     On October 5, 2010, the grand jury returned an eight-count indictment charging

defendants Bethlyn Felix, Allen Snyder, Allan Snyder and Michael Welch with conspiracy to

manufacture 1,000 or more marijuana plants and to possess with intent to distribute and to

distribute that marijuana, in violation of 21 U.S.C. § 846. (Docket # 1).1 The defendants are also

charged with substantive crimes related to the manufacture and distribution of marijuana. (Id.).

In addition, Felix and Allan Snyder are charged with possession of a firearm in furtherance of a

drug trafficking crime, in violation of 18 U.S.C. § 924(c).




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               Allen Snyder is the father of Allan Snyder and Michael Welch. Allan Snyder and Bethlyn Felix are
married.
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                  Currently pending before the Court are motions by defendants Michael Welch

(“Welch”), Allan Snyder (“Snyder Jr.”) and Bethlyn Felix (“Felix”) to suppress evidence of

telephone communications intercepted by wiretaps. (Docket ## 51, 82, 87).2 Felix also seeks to

suppress evidence seized from her residence at 1154 Finches Corners Road in Martville, New

York. (Docket # 87). Finally, defendant Allen Snyder (“Snyder Sr.”) seeks to suppress tangible

evidence seized from his residence at 13770 Savannah Spring Lake Road in Savannah, New

York and to dismiss the indictment on the ground that it is duplicitous. (Docket # 48).3

                  For the reasons discussed below, I recommend that the district court deny the

defendants’ motions.



                                         FACTUAL BACKGROUND

I. Wiretap Applications

                  A. March 15, 2010 Wiretaps

                  On March 15, 2010, Wayne County Court Judge John B. Nesbitt signed two

eavesdropping warrants to intercept electronic communications from over telephones being used


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            Defendants filed omnibus motions. Specifically, Michael Welch also sought, inter alia, an audibility
hearing, a bill of particulars, a conspiracy hearing, Brady and Jencks material, severance, discovery, identification of
informants and preservation of rough notes. (Docket # 51). Allan Snyder’s omnibus motion sought, inter alia, an
audibility hearing, a bill of particulars, Brady and Jencks material, rulings under Federal Rules of Evidence 404, 608
and 609, discovery, identification of informants, preservation of rough notes and disclosure of grand jury minutes.
(Docket # 82). Bethlyn Felix sought, inter alia, an audibility hearing, a bill of particulars, Brady and Jencks
material, rulings under Federal Rules of Evidence 404, 608 and 609, severance, discovery, identification of
informants and preservation of rough notes. (Docket # 87). Each of the above-referenced motions was decided by
the undersigned or resolved by the parties in open court on February 8, May 3 and June 23, 2011, respectively.
(Docket ## 62, 85, 100).
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           Allen Snyder’s omnibus motion also sought, inter alia, a bill of particulars, Brady and Jencks material,
discovery, rulings under Federal Rules of Evidence 404, 608 and 609, identification of informants and severance.
(Docket # 48). Each of those motions was decided by the undersigned or resolved by the parties in open court on
February 8, 2011. (Docket # 61).

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by Snyder Jr.: (315) 945-4286 and (315) 414-7719 (the “target numbers”). New York State

Police Investigator Matthew P. Butts (“Butts”) submitted an identical affidavit in support of his

application for both warrants. (Docket # 58, Exs. 2, 3 (“Butts Aff. 1”)). The following is a

summary of the facts set forth in Butts’s affidavit.

               Butts affirmed that there was probable cause to believe that Snyder Jr. and his

wife, Bethlyn Felix, were conspiring to sell marijuana. (Butts Aff. 1 at ¶ 13). According to

Butts, the purpose of the investigation into Snyder Jr. and Felix’s activities was to identify their

suppliers, co-conspirators and customers and the location where they stored the marijuana. (Id.

at ¶ 15). In addition, the investigation sought to “identify, disable and dismantle the distribution

network.” (Id. at ¶ 31).

               According to Butts, in July 2007 a search warrant was executed at Snyder Jr.’s

home at 1154 Finches Corners Road in Martville, New York, and marijuana plants and

cultivation equipment were seized, along with thirty guns and other drug paraphernalia. (Id. at

¶ 17).

               Butts also described information provided from a confidential source (“CS”) who

had been cooperating with a drug task force, comprised of members of the Town of Macedon

Police Department, the Wayne County Narcotics Enforcement Team and the New York State

Police (the “task force”). According to CS, he had known Snyder Jr. for five years and had

observed Snyder Jr. sell marijuana during 2008 and 2009; CS had seen multiple pounds of

marijuana in the master bedroom of Snyder Jr.’s home. (Id. at ¶ 20). CS stated that Snyder Jr.

sells in “larger quantities” and that Felix sells marijuana for Snyder Jr. when he is not home.




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(Id.). CS reported that Snyder Jr. admitted that he had been dealing marijuana for over ten years.

(Id.).

               Acting at the behest of the task force, CS made five controlled purchases of

marijuana from Snyder Jr. during 2009 and 2010. CS arranged the purchases by contacting

Snyder Jr. over the target numbers. (Id.). Specifically, on December 14, 2009, CS sent a text

message to (315) 414-7719 to arrange a purchase of eight ounces of marijuana from Snyder Jr.

(Id. at ¶ 21). CS then traveled to Snyder Jr.’s home. Although Snyder Jr. was not home, CS

purchased the marijuana from Felix for $1,500. (Id.).

               On January 4, 2010, CS again contacted Snyder Jr. at (315) 414-7719 via text

message and arranged another purchase. (Id. at ¶ 22). Again, Snyder Jr. was not home when CS

arrived. (Id.). CS gave Felix $1,500 for eight ounces of marijuana. (Id.) Felix informed him

that she could sell him only five ounces, but that Snyder Jr. would deliver the additional three

ounces the next day. (Id.). On January 5, 2010, CS sent a text message to Snyder Jr. at

(315) 945-4286 and arranged to pick up the remaining quantity. (Id. at ¶ 23). When CS arrived

at Snyder Jr.’s home, Snyder Jr. gave CS the remaining three ounces of marijuana. (Id.). At that

time, CS told Snyder Jr. that he wanted to buy a pound of marijuana the next time, which Snyder

Jr. agreed to sell him for $3,000. (Id.).

               On January 30, 2010, CS contacted Snyder Jr. at (315) 945-4286 and indicated

that he wanted to purchase marijuana. (Id. at ¶ 24). They arranged for Snyder Jr. to deliver eight

ounces to CS at CS’s residence in Wolcott, New York. (Id.). When Snyder Jr. arrived with the

delivery, CS asked Snyder Jr. whether (315) 945-4286 was the correct phone number on which to




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contact him. (Id.). Snyder Jr. responded that CS should only send text messages to that number,

but should never call him. (Id.).

               On February 22, 2010, CS sent Snyder Jr. a text message at (315) 945-4286 to

arrange another purchase. (Id. at ¶ 26). CS then traveled to Snyder Jr.’s home and purchased

eight ounces of marijuana from Snyder Jr. and Felix. (Id.). Snyder Jr. asked CS why it took him

so long to sell a half-pound of marijuana and told CS that he “needed to step up his ‘game’ a bit.”

(Id.). Snyder Jr. also informed CS that an individual named “Pugsley” was selling marijuana for

him from the Wolcott Hotel in Wolcott, New York. (Id.).

               B. March 25, 2010

               On March 25, 2010, Butts applied for a third eavesdropping warrant for telephone

number (315) 564-5246, which was being used by both Snyder Jr. and Felix at 1154 Finches

Corners Road. (Docket # 58, Ex. 4 (“Butts Aff. 2”)). In his affidavit, Butts identified the same

goals for the investigation as he had identified in the previous warrant applications. He also

included transcripts of conversations that had been intercepted pursuant to the earlier wiretap

orders. (Butts Aff. 2 at ¶¶ 15-16).

               Butts’s affidavit included a transcript of a March 17, 2010 conversation between

Snyder Jr. and an individual identified as Lance Sanford (“Sanford”). During the conversation,

Snyder Jr. agreed to sell Sanford one and one-quarter pounds of marijuana for $3,600. (Id. at

¶ 17). Sanford agreed to contact Snyder Jr. when he had the funds for the purchase. (Id.).

               The Butts affidavit also included a transcript of a lengthy conversation between

Snyder Jr. and an unidentified individual on March 17, 2010, during which Snyder Jr. discussed




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selling marijuana and stated that his price was the same regardless of the identity of the buyer.

(Id. at ¶ 19).

                 The affidavit further summarized a series of telephone calls intercepted on March

21, 2010. On that date, Snyder Jr. telephoned Sanford and asked whether he planned to pick up

the marijuana he had agreed to purchase a few days earlier. (Id. at ¶ 21). Sanford advised Snyder

Jr. that he could get “there” around 7:30 p.m. (Id. at ¶ 22). At 7:38 p.m., Snyder Jr. telephoned

(315) 564-5246, a telephone number registered to Felix, and asked Felix whether Sanford had

stopped by yet. (Id. at ¶ 25). Felix replied that he had not. (Id.). At 7:48 p.m., Snyder Jr. again

telephoned Felix at (315) 564-5246, and Felix informed him that Sanford still had not arrived.

(Id. at ¶ 26). At 7:49 p.m., Snyder Jr. telephoned Sanford, confirmed Sanford’s plans to come to

his house and told Sanford that he did not want to leave the marijuana “layin’ around.” (Id. at

¶ 27). Sanford responded that he was pulling into Snyder Jr.’s residence. (Id.).



II. Search Warrant for 13770 Savannah Spring Lake Road

                 On April 12, 2010, Judge Nesbitt issued a warrant to search 13770 Savannah

Spring Lake Road in Savannah, New York, Snyder Sr.’s residence. (Docket # 48-1 (“Colella

Aff.”)). The supporting affidavit of Chief John P. Colella of the Macedon Police Department

incorporated by reference the wiretap affidavits discussed above. (Colella Aff. at 105-106).

                 Colella’s affidavit included transcripts of various telephone calls and text

messages intercepted pursuant to the three wiretap warrants. During one such telephone call on

March 20, 2010, Snyder Sr. asked Snyder Jr. if he planned to come over. (Colella Aff. at 106).

Snyder Jr. responded, “Do I need to . . . ?” (Id.). Snyder Sr. replied that he “imag[ined] so.”


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(Id.). Colella opined, based on his training and experience, that Snyder Sr. wanted his son to

come to his house to take care of the marijuana plants. (Id. at 106-107).

               On March 22, 2010, at 5:43 p.m., a telephone call between Snyder Jr. and his

brother Michael Welch was intercepted. During that conversation, Welch told Snyder Jr. that he

would go to “Savannah” “first thing in the morning” to “raise it up.” (Id. at 107). Colella opined

that Welch meant that he planned to go to Snyder Sr.’s house to raise the growing lights for the

marijuana plants. (Id.). A few hours later, Welch and Snyder Jr. exchanged text messages in

which, in Colella’s opinion, Snyder Jr. told Welch that he wanted the growing lights for the

marijuana plants raised one foot. (Id. at 107-08). In a later 8:34 p.m. telephone call, the brothers

discussed going over to “dad’s,” and Snyder Jr. told Welch to “get that done.” (Id. at 108-09).

Welch then sent a text message to Snyder Jr. at 9:29 p.m. to notify him that he had arrived at

Snyder Sr.’s home. (Id. at 109). At 10:54 p.m., Welch sent Snyder Jr. another text message, “All

done. U need 2 get more bulbs. We used them all. We replaced about 15.” (Id. at 110). Colella

interpreted the text message to mean that Welch had replaced the bulbs in the growing lights at

Snyder Sr.’s house and that Snyder Jr. needed to buy more bulbs. (Id.). At the time of the text

message, law enforcement surveillance confirmed that Welch’s vehicle was parked in the

driveway of 13770 Savannah Spring Lake Road. (Id.).

               Four days later, on March 26, 2010 at 7:59 p.m., Welch told Snyder Jr. that he

would be going over to “dad’s” in the morning. (Id. at 110-12). Snyder Jr. told Welch that “it

looked . . . dry as fuck,” and Welch responded that “he’s keeping it so fuckin’ hot in there.” (Id.

at 111).




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               The following day, on March 27, 2010, Snyder Jr. and Welch exchanged text

messages agreeing to meet at “dad’s.” (Id.).

               On March 28, 2010, at 4:22 p.m., Snyder Jr. told Welch that he had turned on the

timers, and Welch replied that some bulbs needed to be replaced. (Id. at 113-14). Welch stated

that he would replace the bulbs and check on the water the next day. (Id. at 114). Also on that

day, Snyder Jr. invited a woman to accompany him to his father’s house. (Id. at 115-16). Snyder

Jr. was observed at 13770 Savannah Spring Lake Road a short time later. (Id. at 116).



                                           DISCUSSION

I. Defendants’ Motions to Suppress Wiretap Evidence

               A. Standing

               18 U.S.C. § 2510(11) defines an “aggrieved person” as “a person who was a party

to any intercepted wire, oral, or electronic communication or a person against whom the

interception was directed.” 18 U.S.C. § 2510(11). According to the Second Circuit, a person

“who has had his conversations intercepted during the wiretap” is an aggrieved person. United

States v. Fury, 554 F.2d 522, 525 (2d Cir.), cert. denied, 433 U.S. 910 (1977). Under 18 U.S.C.

§ 2518(10) an aggrieved person may “move to suppress the contents of any wire or oral

communication intercepted pursuant to this chapter, or evidence derived therefrom, on the

grounds that (i) the communication was unlawfully intercepted; (ii) the order of authorization or

approval under which it was intercepted is insufficient on its face; or (iii) the interception was not

made in conformity with the order of authorization or approval.” 18 U.S.C. § 2518(10)(a).




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               The record plainly demonstrates that Snyder Jr. and Felix have standing to

suppress telephone conversations intercepted over their telephones. Because the record also

contains evidence that telephone calls to and from Welch were intercepted over Snyder Jr.’s

telephone, he too has standing to move to suppress those conversations.

               B. Other Investigative Procedures

               Snyder Jr., Felix and Welch seek suppression of the intercepted communications

on the grounds that the supporting affidavits offered by Butts failed to demonstrate that before

resorting to the use of wiretaps, traditional investigative procedures had been attempted and had

proved unsuccessful. In other words, according to defendants, Butts’s affidavits failed to justify

the need for wiretap interception. (Docket ## 51 at 55; 82 at 44; 87 at 14).

               An application for a wiretap authorization must contain “a full and complete

statement as to whether or not other investigative procedures have been tried and failed or why

they reasonably appear to be unlikely to succeed if tried or to be too dangerous.” 18 U.S.C.

§ 2518(1)(c). A judge may approve a wiretap application only after determining that such a

showing has been made. 18 U.S.C. § 2518(3)(c). This requirement “is simply designed to assure

that wiretapping is not resorted to in situations where traditional investigative techniques would

suffice to expose the crime.” United States v. Kahn, 415 U.S. 143, 153 n.12 (1974). In other

words, the government need not “exhaust all conceivable investigative techniques before

resorting to electronic surveillance,” but must resort to telephonic surveillance only “when it is

necessary to assist in law enforcement.” United States v. Concepcion, 579 F.3d 214, 218 (2d Cir.

2009); United States v. Funderburk, 492 F. Supp. 2d 223, 242 (W.D.N.Y. 2007) (the “other

investigative procedures” requirement is not intended to turn electronic surveillance into a “tool


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of last resort”). “‘Merely because a normal investigative technique is theoretically possible, it

does not follow that is likely’ to succeed.” United States v. Crosby, 2010 WL 4703615, *3

(W.D.N.Y. 2010) (quoting United States v. Torres, 901 F.2d 205, 231-32 (2d Cir. 1990),

abrograted on other grounds as recognized by United States v. Marcus, 628 F.3d 36, 41 (2d Cir.

2010)). The wiretap application needs only to inform the issuing court “of the nature and

progress of the investigation and of the difficulties inherent in the use of normal law enforcement

methods.” United States v. Concepcion, 579 F.3d at 218 (internal quotation omitted).

               In narcotics conspiracy investigations, this requirement may be satisfied by

“describing how traditional investigative techniques had failed to provide more than a ‘limited

picture’ of . . . [the] narcotics organization.” United States v. Valdez, 1991 WL 41590, *2

(S.D.N.Y.) (quoting United States v. Torres, 901 F.2d at 232), aff’d 952 F.2d 394 (2d Cir. 1991).

Moreover, wiretaps are particularly appropriate when “the telephone is routinely relied on to

conduct the criminal enterprise under investigation.” United States v. Young, 822 F.2d 1234,

1237 (2d Cir. 1987) (internal quotation omitted).

               Moreover, this Court’s review of the issuing court’s determination is not de novo;

rather, the reviewing court must determine only whether “‘the facts set forth in the application

were minimally adequate to support the determination that was made.’” Concepcion, 579 F.3d at

218 (quoting United States v. Miller, 116 F.3d 641, 663 (2d Cir. 1997)) (agent’s assertion that

surveillance had been conducted unsuccessfully on numerous occasions was “minimally

adequate”); see also United States v. Miranda, 1993 WL 410507, *2 (S.D.N.Y. 1993) (issuing

court’s determination concerning sufficiency of normal investigative techniques is entitled to




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“substantial deference”). The reviewing court must test the application in a “practical and

commonsense fashion.” Concepcion, 579 F.3d at 218.

                Applying a practical, commonsense and deferential review to the instant case, I

find that Butts’s affidavits were at least minimally adequate to support a finding that further use

of traditional investigative techniques appeared unlikely to succeed. In his affidavits, Butts

identified the purpose of the investigation as the identification of Snyder Jr. and Felix’s suppliers,

co-conspirators and customers, as well as their marijuana storage locations. (Butts Aff. 1 at

¶ 15). He further stated that “[t]he goals of this investigation are not limited to the arrest of just

[Snyder Jr. or Felix] or the seizure of a single storehouse or cache of [m]ari[j]uana,” but include

“identify[ing], disabl[ing] and dismantl[ing] the distribution network.” (Id. at ¶ 31). Butts’s

affidavits also articulated his belief that “no substantial quantity of [m]arijuana is originally

produced in Wayne or Cayuga Counties,” but must be imported from other distant states or

countries. (Id. at ¶ 4).

                Butts further affirmed that although “conventional investigative means” had

produced evidence of marijuana trafficking by Snyder Jr. and Felix, those investigative

techniques had not accomplished and were not likely to accomplish the objectives of the

investigation. (Id. at ¶ 33). For example, Butts affirmed that although the task force had

succeeded in making controlled purchases of marijuana from Snyder Jr., none of the transactions

had revealed his supplier or storage location. (Id. at ¶ 34). Butts stated that he was not aware of

any other cooperating informants who were capable of ascertaining that information. (Id. at

¶¶ 35-36). Butts further affirmed that the task force had no informant capable of introducing an

undercover officer to Snyder Jr. (Id. at ¶ 37).


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               Butts’s affidavit also described the difficulties the investigative team had

encountered in attempting to conduct surveillance of Snyder Jr. As Butts explained, the rural

location of Snyder Jr.’s home made “stationary” surveillance risky, in part because Snyder Jr.’s

home was equipped with several motion-activated lights and because, on one occasion, neighbors

had alerted Snyder Jr. to surveillance activities. (Id. at ¶¶ 38-42). In addition, “moving”

surveillance had also proved difficult because Snyder Jr. frequently drove in an erratic and

elusive manner. (Id. at ¶ 39). Indeed, Butts affirmed that CS had reported that Snyder Jr. was

“very aware of [l]aw [e]nforcement attempts to infiltrate his distribution network.” (Id. at ¶ 38).

               Finally, Butts also described the likely ineffectiveness of search warrants,

interviews, toll analysis and a grand jury investigation to accomplish the goals of the

investigation, particularly to reveal the full scope of the organization and the identification of the

other conspirators. (Id. at ¶¶ 43-50).

               In support of her suppression motion, Felix identifies alleged inconsistencies in

Butts’s affidavit that she contends undermine Butts’s assertion that ordinary investigative

techniques would not succeed in accomplishing the investigation’s goals. Specifically, Felix

contends that the fact that Snyder Jr. had been caught growing marijuana in 2007 is inconsistent

with Butts’s asserted belief that Snyder Jr. was importing marijuana. (Docket # 87 at 16-17).

Further, Felix challenges Butts’s claim that an informant would be unlikely to gather information

from Snyder Jr. about his suppliers or customers, considering the fact that Snyder Jr. told CS that

“Pugsley” was selling marijuana for him from the Wolcott Hotel. (Id. at 17-18). Felix also

contends that Butts’s affidavit shows that surveillance was in fact used successfully numerous

times, including to monitor CS’s controlled purchases. (Id.).


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               Finally, Felix asserts that CS’s true identity is Sanford, the person whose

conversations with Snyder Jr. were intercepted and recounted in the March 25, 2010 application.

(Id. at 21-22). Butts’s failure to disclose that fact, Felix maintains, constitutes a material

misstatement designed to mislead the issuing magistrate and requests an evidentiary hearing

pursuant to Franks v. Delaware, 438 U.S. 154 (1978).

               Felix is of course correct that the task force could have employed additional

procedures – such as, additional surveillance or inquiries by CS – to attempt to identify Snyder

Jr.’s suppliers, co-conspirators and customers. However, Butts’s affidavit adequately explained

why those methods risked jeopardizing the investigation and were unlikely to succeed. Although

CS had known Snyder Jr. for five years, he had never learned the identity of his supplier or the

location where he stored his marijuana; thus, it was reasonable for Butts to assume that Snyder

Jr. was unwilling to share that information with CS. Further, Butts identified several reasons

why surveillance was risky, particularly because CS had informed him that Snyder Jr. was aware

of law enforcement’s attempts to penetrate his organization. For these reasons, and applying the

legal standards described above, I reject Felix’s arguments that the wiretap orders are invalid

because law enforcement did not exhaust other traditional investigative techniques. See

Concepcion, 579 F.3d at 218, 219 (law enforcement need not exhaust “all conceivable

investigative techniques”; fact that “leads could have been better leveraged before resorting to a

wiretap” does not mandate suppression where affidavit was otherwise “minimally adequate”);

United States v. Mitchell, 2010 WL 55927, *5 (W.D.N.Y. 2010) (affidavits were sufficient where

they asserted that informants and surveillance provided only “a limited picture of the drug

distribution network”).


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                 Finally, Felix does not provide a basis for her belief that CS and Sanford are the

same person; rather, that assertion is made by her attorney. Franks v. Delaware, 438 U.S. at 171

(to warrant an evidentiary hearing, allegations of deliberate falsehood “must be accompanied by

an offer of proof”). Further, even if true, the omission of the identity of CS is immaterial to the

determination whether there was probable cause to believe that Snyder Jr. was utilizing Felix’s

telephone number to coordinate drug sales. Id. at 171-72 (no hearing required where probable

cause exists even after setting aside allegedly false information). Accordingly, Felix’s motion for

a Franks hearing is denied.4

                 In sum, this Court finds that Butts’s affidavits sufficiently identified the traditional

investigative techniques that had been utilized and adequately informed the issuing court why

other techniques were unlikely to achieve the aims of the investigation. Accordingly, I find that

the factual recitations set forth in Butts’s affidavits were minimally adequate to support the

wiretap orders. See Concepcion, 579 F.3d at 219. Defendants’ motions to suppress the wiretap

communications based upon the alleged failure to demonstrate the futility of other investigative

techniques should therefore be denied.

                 C. Probable Cause

                 I turn next to Welch’s challenge that the warrants were not supported by probable

cause to believe that the communications to be intercepted would reveal evidence of criminal

offenses. (Docket # 51 at 51).

                 Pursuant to 18 U.S.C. § 2518(3), before issuing a wiretap order, a judge must

determine:


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           In addition, I also deny Welch’s and Snyder Jr.’s motions for Franks hearings. (Docket ## 51, 82).

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                 [1] that there is probable cause to believe that a crime has been, is
                 being, or is about to be committed; [2] probable cause to believe
                 that communications about the crime will be obtained through the
                 wiretap; [3] that alternative means have been tried and failed or
                 appear too dangerous or unlikely to succeed; and [4] probable
                 cause that the premises to be wiretapped are being used for
                 criminal purposes or are used or owned by the target of the wiretap.

United States v. Wagner, 989 F.2d 69, 71 (2d Cir. 1993).

                 The probable cause standard applicable to wiretaps is the same as that required for

a traditional search warrant. Id. (citing United States v. Rowell, 903 F.2d 899, 901-02 (2d Cir.

1990); United States v. Fury, 554 F.2d at 530). In other words, probable cause must be

determined by evaluating the “totality of the circumstances.” Illinois v. Gates, 462 U.S. 213, 238

(1983). As a reviewing court, this Court must accord “substantial deference” to the issuing

court’s finding of probable cause. United States v. Wagner, 989 F.2d at 72 (citations omitted).

                 Here, the March 15, 2010 and March 25, 2010 applications established ample

probable cause to believe that crimes were being committing and that the interception would

reveal communications about the commission of those crimes. Specifically, Butts’s March 15,

2010 affidavits described in detail five controlled purchases of half-pounds of marijuana from

Snyder Jr. Those sales were arranged over the telephone numbers sought to be intercepted. In

addition, the March 25, 2010 affidavit described conversations in which Snyder Jr. called Felix at

home to coordinate the sale of over a pound of marijuana. Accordingly, Welch’s challenge must

fail.5


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           Felix has also moved to suppress the tangible evidence seized pursuant to an April 12, 2010 search
warrant for her residence at 1154 Finches Corners Road as the fruit of the illegal wiretap orders. (Docket # 87 at
22). Because I find that the wiretap orders were sufficiently supported by probable cause and that law enforcement
properly demonstrated the unlikely success of other investigative techniques, I recommend that her motion to
suppress the April 12, 2010 search warrant as the fruit of the wiretap orders be denied.

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       D. Minimization and Sealing

               Welch further moves to suppress the intercepted telephone calls on the ground

that they were not minimized. (Docket # 51 at 59). Section 2518(5) of Title 18 provides that

authorized interceptions “shall be conducted in such a way as to minimize the interception of

communications not otherwise subject to interception.” 18 U.S.C. § 2518(5). Moreover, as the

Supreme Court has recognized:

               During the early stages of surveillance the agents may be forced to
               intercept all calls to establish categories of nonpertinent calls
               which will not be intercepted thereafter. Interception of those same
               type of calls might be unreasonable later on, however, once the
               nonpertinent categories have been established and it is clear that
               this particular conversation is of that type.

Scott v. United States, 436 U.S. 128, 141 (1978).

               Standing to challenge improper minimization requires the showing of a direct

privacy interest. Fury, 554 F.2d at 526; United States v. Salas, 2008 WL 4840872, *8 (S.D.N.Y.

2008); United States v. Burford, 755 F. Supp. 607, 613 (S.D.N.Y. 1991) (“[i]t is well settled law

in this Circuit that to have standing to challenge improper minimization during a wiretap

executed by the government, that a defendant must show a direct privacy interest”). To establish

a direct privacy interest, a defendant must demonstrate a possessory or proprietary interest in the

home in which the telephone is located or in the telephone itself. Fury, 554 F.2d at 526; United

States v. Villegas, 1993 WL 535013, *8 (S.D.N.Y. 1993); United States v. Burford, 755 F. Supp.

at 613 (citing United States v. Hinton, 543 F.2d 1002, 1011-12 (2d Cir.), cert. denied, 429 U.S.

980 (1976)). Moreover, as noted by the Second Circuit, even defendants who are named as

targets of the investigation may lack standing to challenge law enforcement’s minimization



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techniques if they did not have an expectation of privacy in the residence in which the tapped

telephone was located. United States v. Ruggiero, 928 F.2d 1289, 1303 (2d Cir.), cert. denied

sub nom., 502 U.S. 938 (1991); see also United States v. Poeta, 455 F.2d 117, 122 (2d Cir.)

(finding defendant lacked standing to raise minimization challenge concerning wiretap of

co-defendant’s telephone), cert. denied, 406 U.S. 948 (1972); United States v. Villegas, 1993 WL

535013 at *8 (same).

               In the case at bar, the intercepted phones were subscribed to or believed to be

utilized by Snyder Jr. or Felix, not Welch. Moreover, Welch has not submitted an affidavit to

establish that he had any expectation of privacy in any of the telephone lines. On this record, I

find that Welch has failed to demonstrate a privacy interest in any of the tapped telephone lines

and thus lacks standing to challenge the government’s minimization of calls intercepted over

those lines.

               Even assuming he had standing, he has nonetheless failed to demonstrate a

violation of the government’s minimization obligations. Welch merely avers that “[m]any of the

intercepted phone calls were personal in nature and did not . . . incorporate an illegal or improper

activity for any criminal conduct much less marijuana trafficking and growing.” (Docket # 51 at

59). Welch has failed to identify any particular conversations that he believes should have been

minimized and were not. Thus, Welch’s motion to suppress intercepted conversations based

upon improper minimization should be denied.

               I turn next to Welch’s contention that the recordings obtained from the wiretap

orders were not timely sealed. Section 2518(8)(a) of Title 18 requires that “[i]mmediately upon

the expiration of the period of the order, or extensions thereof, such recordings shall be made


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available to the judge issuing such order and sealed under his directions.” 18 U.S.C.

§ 2518(8)(a). Even if the sealing had been delayed, suppression is not automatic; rather,

suppression is only required where the government cannot explain the delay. United States v.

Vasconcellos, 658 F. Supp. 2d 366, 295 (N.D.N.Y. 2009) (citing United States v. Gallo, 863 F.2d

185, 193 (2d Cir. 1988)). Welch contends, without evidentiary support, that the tapes were not

timely sealed. (Docket # 51 at 60). Accordingly, I recommend that the district court deny

Welch’s motion to suppress the wiretap evidence on the ground of untimely sealing.



III. Snyder Sr.’s Motion to Suppress

               Next, I address Snyder Sr.’s challenge to the April 12, 2010 search warrant for

13770 Savannah Spring Lake Road on the grounds that the application failed to establish

probable cause. (Docket # 48 at 2-11). Specifically, Snyder Sr. argues that the intercepted

conversations between Snyder Jr. and Welch recounted in Colella’s affidavit were not criminal in

nature and thus did not demonstrate probable cause to believe that marijuana would be found at

Snyder Sr.’s house. (Id. at 2-9). In addition, Snyder Sr. contends that the information contained

in the warrant application was stale. (Id. at 9-11).

               The Fourth Amendment to the Constitution provides that “no Warrants shall

issue, but upon probable cause, supported by Oath or affirmation, and particularly describing the

place to be searched, and the persons or things to be seized.” U.S. CONST. amend. IV; see also

Fed. R. Crim. P. 41. In Illinois v. Gates, 462 U.S. 213 (1983), the Supreme Court affirmed the

“totality of the circumstances” test to determine whether a search warrant satisfies the Fourth

Amendment’s probable cause requirement. According to the court, the issuing judicial officer


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must “make a practical, common-sense decision whether, given all the circumstances set forth in

the affidavit before him, including the ‘veracity’ and ‘basis of knowledge’ of persons supplying

hearsay information, there is a fair probability that contraband or evidence of a crime will be

found in a particular place.” Illinois v. Gates, 462 U.S. at 238. A reviewing court’s obligation is

merely to determine that the issuing judge had a “‘substantial basis for...conclud[ing]’ that

probable cause existed.” United States v. Smith, 9 F.3d 1007, 1012 (2d Cir. 1993) (quoting

Illinois v. Gates, 462 U.S. at 238-39) (internal quotation omitted); Walczyk v. Rio, 496 F.3d 139,

157 (2d Cir. 2007) (“a reviewing court must accord considerable deference to the probable cause

determination of the issuing magistrate”). Moreover, “resolution of marginal cases should be

determined by the preference to be afforded to warrants.” United States v. Smith, 9 F.3d at 1012

(citing Jones v. United States, 362 U.S. 257, 270 (1960)).

               Here, Colella’s affidavit described conversations between Snyder Jr. and Welch

that based on his training and experience, related to the care and maintenance of a marijuana

grow operation. Specifically, Snyder Jr. and Welch discussed activities at their father’s house –

such as “rais[ing] it up,” replacing bulbs, plugging in timers, bringing buckets of water – and the

fact that something at Snyder Sr.’s was “dry as fuck.” In addition, Colella’s affidavit

incorporated the Butts affidavits, which, as discussed above, established probable cause to

believe that Snyder Jr. was involved in trafficking marijuana. Moreover, a 2007 search warrant

had revealed that Snyder Jr. had been growing marijuana in his home at that time. Considered

together, this evidence provided sufficient probable cause to believe that evidence of a marijuana

conspiracy would be found at Snyder Sr.’s residence. Fury, 554 F.2d at 530-31 (probable cause

shown where ambiguous statements could be “reasonably interpreted to indicate what the


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detective interpreted them to be” when considered in context of defendant’s criminal record and

ongoing investigation). See also United States v. Cancelmo, 64 F.3d 804 (2d Cir. 1995)

(observing that “drug dealers rarely speak openly about their trade” and that use of a “narcotics

code” may support a probable cause finding); United States v. Fama, 758 F.2d 834, 838 (2d Cir.

1985) (“fact that an innocent explanation may be consistent with the facts alleged . . . does not

negate probable cause”).

               I further reject Snyder Sr.’s contention that the information contained in the

warrant application was stale. Factors to be considered in addressing staleness challenge include

“the nature of the conduct alleged to have violated the law.” Rivera v. United States, 928 F.2d

592, 602 (2d Cir. 1991) (quoting United States v. Martino, 664 F.2d 860, 867 (2d Cir. 1981),

cert. denied, 458 U.S. 1110 (1982)). “[N]arcotics conspiracies are the very paradigm of the

continuing enterprises for which the courts have relaxed the temporal requirements of

non-staleness.” United States v. Rowell, 903 F.2d at 903 (quoting United States v. Feola, 651

F. Supp. 1068, 1090 (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.), cert. denied, 493 U.S. 834

(1989)). Thus, even an eighteen-month delay between an informant’s statements and a warrant

application will not render the information stale. Id. See also United States v. Perry, 643 F.2d

38, 49-50 (2d Cir.) (three-year old information was not stale where warrant also included

information regarding current activity), cert. denied, 454 U.S. 835 (1981); United States v. Reyes,

922 F. Supp. 818, 827 (S.D.N.Y. 1996) (information must be at least one year old to be stale).

               The warrant for Snyder Jr.’s residence was signed on April 12, 2010. The

information contained in the warrant consisted of intercepted conversations occurring no more

than three weeks earlier, during March 20 through March 28, 2010, in addition to the


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incorporated Butts affidavits recounting events between December 2009 and February 2010.

Accordingly, I decline to find that the warrant lacked probable cause on the grounds of staleness.

               In any event, Snyder Sr. has failed to offer any evidence to suggest that the

searching officers did not rely upon the warrant in good faith. See United States v. Leon, 468

U.S. 897 (1984); United States v. Cancelmo, 64 F.3d at 807 (applying good faith exception to the

exclusionary rule where search warrant application relied on ambiguous coded conversations).

No credible evidence exists that the issuing judge was knowingly misled or wholly abandoned

his judicial role. See id. at 923. Nor was the warrant so facially deficient or so lacking in

probable cause that reliance upon it would have been unreasonable. See id.; Cancelmo, 64 F.3d

at 807 (citations omitted). Accordingly, it is my recommendation that Snyder Sr.’s motion to

suppress evidence seized from 13770 Savannah Spring Lake Road be denied.



IV. Snyder Sr.’s Motion to Dismiss Indictment for Duplicity

               I turn finally to Snyder Sr.’s motion to dismiss the first count of the indictment on

the basis that it is duplicitous. (Docket # 48 at 15-18). Snyder Sr. contends that the indictment

improperly charges him with two separate conspiracy offenses that are joined in a single count.

(Id.). Count I of the indictment charges that between January 2007 and April 2010, Snyder Sr.,

with others:

               did knowingly, willfully and unlawfully combine, conspire and
               agree together and with others, known and unknown to the Grand
               Jury, to commit the following offenses, that is, to manufacture
               1,000 or more marijuana plants, a Schedule I controlled substance,
               and to possess with intent to distribute and to distribute marijuana,
               a Schedule I controlled substance, in violation of Title 21, United
               States Code, Sections 841(a)(1), 841(b)(1)(A) and 841(b)(1)(D).


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(Docket # 1).

                “An indictment is invalidly duplicitous when it joins in a single count two or more

distinct and separate offenses.” United States v. Droms, 566 F.2d 361, 363 (2d Cir. 1977);

accord United States v. Aracri, 968 F.2d 1512, 1518 (2d Cir. 1992). A count is duplicitous only

“‘if a general verdict of guilty might actually conceal contrary findings as to different alleged

crimes, or if an appropriate basis for sentencing is not provided.’” United States v. Parker, 165

F. Supp. 2d 431, 447 (W.D.N.Y. 2001) (quoting United States v. Margiotta, 646 F.2d 729,

732-33 (2d Cir. 1981)). See United States v. Murray, 618 F.2d 892, 896 (2d Cir. 1980) (“the

prohibition of duplicity is said to implicate a defendant’s rights to notice of the charge against

him, to a unanimous verdict, to appropriate sentencing and to protection against double jeopardy

in a subsequent prosecution”).

                Snyder Sr.’s challenge to the indictment fails under settled authority. An

indictment may charge a defendant with a single count of conspiracy, but allege “various means

of furthering that conspiracy.” United States v. Aracri, 968 F.2d at 1518. Thus, “acts that could

be charged as separate counts of an indictment may instead be charged in a single count if those

acts could be characterized as part of a single continuing scheme.” United States v. Tutino, 883

F.2d 1125, 1141 (2d Cir. 1989). See also United States v. Jenkins, 409 F. App’x 451, 452-53 (2d

Cir. 2011) (single narcotics conspiracy may comprise both the importation, distribution and

possession of illegal narcotics).

                Here, Snyder Sr. and his co-defendants are charged with a single conspiracy to

manufacture, possess with intent to distribute and distribute marijuana. The indictment is not

duplicitous because it properly alleges a single conspiracy with multiple objectives. United


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States v. Murray, 618 F.2d at 896, 898 (single count charging defendant with conspiracy to

import and to distribute cocaine and marijuana was not duplicitous). Accordingly, I recommend

that the district court deny Snyder Sr.’s motion to dismiss Count One of the indictment.



                                        CONCLUSION

               For the reasons discussed above, I recommend that the district court deny the

motions filed by Felix, Snyder Jr. and Welch to suppress the evidence intercepted pursuant to the

wiretap orders. (Docket ## 51, 82, 87). I further recommend that the district court deny Felix’s

motion to suppress evidence seized from her residence at 1154 Finches Corners Road. (Docket

# 87). Finally, I recommend that the district court deny Snyder Sr.’s motion to suppress the

tangible evidence seized from his residence at 13770 Savannah Spring Lake Road and to dismiss

the indictment as duplicitous. (Docket # 48).




                                                        s/Marian W. Payson
                                                               MARIAN W. PAYSON
                                                            United States Magistrate Judge

Dated: Rochester, New York
       December 27 , 2011




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Pursuant to 28 U.S.C. § 636(b)(1), it is hereby

         ORDERED, that this Report and Recommendation be filed with the Clerk of the Court.

        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk
of this Court within fourteen (14) days after receipt of a copy of this Report and
Recommendation in accordance with the above statute and Rule 58.2(a)(3) of the Local Rules of
Criminal Procedure for the Western District of New York.6

        The district court will ordinarily refuse to consider on de novo review arguments, case
law and/or evidentiary material which could have been, but was not, presented to the magistrate
judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v. Massachusetts Mun. Wholesale
Elec. Co., 840 F.2d 985 (1st Cir. 1988).

       Failure to file objections within the specified time or to request an extension of such
time waives the right to appeal the District Court’s Order. Thomas v. Arn, 474 U.S. 140
(1985); Small v. Secretary of Health and Human Services, 892 F.2d 15 (2d Cir. 1989); Wesolek v.
Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

        The parties are reminded that, pursuant to Rule 58.2(a)(3) of the Local Rules of Criminal
Procedure for the Western District of New York, “written objections shall specifically identify
the portions of the proposed findings and recommendations to which objection is made and the
basis for such objection and shall be supported by legal authority.” Failure to comply with the
provisions of Rule 58.2(a)(3) may result in the District Court’s refusal to consider the
objection.

        Let the Clerk send a copy of this Order and a copy of the Report and Recommendation to
the attorneys for the parties.

IT IS SO ORDERED.


                                                                   s/Marian W. Payson
                                                                          MARIAN W. PAYSON
                                                                       United States Magistrate Judge

Dated: Rochester, New York
       December 27 , 2011

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           Counsel is advised that a new period of excludable time pursuant to 18 U.S.C. § 3161(h)(1)(D)
commences with the filing of this Report and Recommendation. Such period of excludable delay lasts only until
objections to this Report and Recommendation are filed or until the fourteen days allowed for filing objections has
elapsed. United States v. Andress, 943 F.2d 622 (6th Cir. 1991); United States v. Long, 900 F.2d 1270 (8th Cir.
1990).

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